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WV DOMESTIC VIOLENCE RELATED DEATHS
OCTOBER 1, 2018—SEPTEMBER 30, 2019


WEST VIRGINIA COALITION AGAINST DOMESTIC VIOLENCE




                                                   Thomas Decl., Ex. 3
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        2019 WV DOMESTIC VIOLENCE RELATED DEATHS




An estimated 31 Domestic Violence related deaths
occurred in West Virginia for the period of October 1,
2018 – September 30, 2019.

The worst result of domestic violence is the loss of life. This report
provides information related to domestic violence related homicides,
suicides, and deaths by legal interventions for the period of October 1,
2018 – September 30, 2019.
This brief accounting in no way represents the total number of
domestic violence related deaths in West Virginia and accounts for
adults (18 years or older). Data gathered came from media outlets and
information provided by licensed domestic violence programs.
The risk of lethality increases with several risk factors, including separation
or an attempt to end the relationship, threats to kill, access to weapons,
stalking, forced sex, strangulation during an assault, controlling, possessive,
jealous behavior, and escalation of violence. Children not in common in
the household, substance abuse, and unemployment are also factors in the
risk of lethality.




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This report depicts the type of relationship that the perpetrator had with the
homicide victim(s). The diagram below does not include domestic violence suicides and legal
intervention from law enforcement officers.



                        Perpetrator Relationship to Homicide Victim
 10


  9


  8


  7


  6


  5


  4


  3


  2


  1


  0




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           2019 WV DOMESTIC VIOLENCE RELATED DEATHS




  This report reviews the sex of the perpetrators and victims. Male perpetrators
  were responsible for 19 (76%) domestic violence homicides. The diagrams below do
  not include domestic violence suicides and legal intervention from law enforcement officers.




                Sex of Perpetrators                            Sex of Victims

  20
                                                       16

  18
                                                       14
  16
                                                       12
  14

                                                       10
  12

  10                                                    8

   8
                                                        6

   6
                                                        4
   4
                                                        2
   2

   0                                                    0
       Female    Male                                       Female   Male
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                2019 WV DOMESTIC VIOLENCE RELATED DEATHS




Firearm deaths (20) accounted for
80% of all of the domestic violence
homicides. The diagram below does not
include domestic violence suicides and legal
intervention from law enforcement officers.    Means of Death by Suicide
                                               Of the 31 domestic violence related
       Means of Death-                         deaths, 4 were perpetrator suicides.
         Homicide

   Unknown       1                             Means of Death by Legal
    Stabbing      2                            Intervention
                                               Of the 31 domestic violence related
Strangulation    1
                                               deaths, two perpetrators died by law
     Firearm                  20               enforcement officer intervention.
      Beaten     1




          Age of Victim
          48 years old was the average
          age of victims.




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          2019 WV DOMESTIC VIOLENCE RELATED DEATHS




        Domestic Violence Related Deaths by County
Of the 55 counties in West Virginia, 14 counties reported domestic violence
related deaths.


                 Domestic Violence Deaths by County (per incident)
7



6



5



4



3



2



1



0




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               2019 WV DOMESTIC VIOLENCE RELATED DEATHS




   Cabell County – Armel Stulter shot and killed his mother's boyfriend, Phillip Boggs.
   Braxton County - Fred Blanks shot and killed his wife, Patricia Blanks, then killed himself as a part of a suicide pact.
   McDowell County - Johnathan Mounts shot and killed his wife, April Mounts.
   Kanawha County - Law enforcement officers shot and killed Andrew Moore after he held a knife to his pregnant fiancée and
    threatened to kill her.
   Braxton County - John Carroll shot and killed his wife, Donna Carroll.
   McDowell County - Ricky Hagerman shot and killed his ex father-in-law, McKinley Addair.
   Wood County - Jared Kessler stabbed his mother, Carol Kessler, to death.
   Kanawha County - Courtney Wallace stabbed her girlfriend's mother, Cherri Simpson, to death.
   Harrison County - Mason Lynch shot and killed his roommate Brantley Langford.
   Harrison County - Law enforcement officers shot and killed Robert Matz while trying to serve a protective order. Robert
    Matz threatened the officers with a knife and a firearm.
   Cabell County - Cathy Elder shot and killed her husband, David Elder.
   Raleigh County - Darrell Shrewsbury shot and killed his estranged wife, Lisa Shrewsbury, then shot and killed himself.
   Taylor County - Angela Bittinger shot and killed her boyfriend, Kenneth Cottrell, then shot and killed herself.
   Raleigh County - Rodney Bailey beat his mother, Betsy Aldridge, to death.
   Nicholas County - Roger Blakenship shot and killed his estranged wife, Irene Blankenship and her boyfriend, Doug Hypes.
   Kanawha County - Richard Lipscomb shot and killed his grandson, Griffin Lipscomb.
   Berkeley County - Richard Austin shot and killed his step-father, John Henderson.
   Harrison County - An unidentified man shot and killed himself following an assault on his estranged wife and police standoff.
   Kanawha County - Frank Cantley strangled his wife, Stephanie Cantley, to death.
   Hancock County - Michael McClanahan shot and killed his significant other, Sandra Brown.
   Putnam County - Newton Blevins shot and killed his wife, Kim Blevins. Newton Blevins then attempted suicide but failed.
   Harrison County - Richard Booth shot and killed his step-daughter's boyfriend, Joseph Frye.
   Kanawha County - James Kiser killed his wife, Crystal Kisner, and buried her in a shallow grave in Kentucky. Exact cause of
    death is unknown at this time.
   Berkeley County - Richard Austin shot and killed his step-father John Henderson.
   Kanawha County - Serenity Metz shot and killed her brother in-law, Thomas Parish, while Parish was allegedly strangling her
    sister.
   Preston County - An unidentified man shot and killed his family member, William French.
   Barbour County - Carli Reed shot and killed her husband, Marcus Fagons.


                                                                                            Thomas Decl., Ex. 3
